Case 2:08-cv-01021-PSG-RC Document 9-11 Filed 02/19/08 Pagelof9 Page ID #:177

EXHIBIT J
Case 2:08-cv-01021-PSG-RC Document 9-11 Filed 02/19/08 Page 2of9 Page ID #:178

Geraldine A. Wyle (SBN 89735)
Jeryll S. Cohen (SBN 125392)
Jeffrey D. Wexler (SBN 132256)
Vivian Lee Thoreen (SBN 224162)

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FILED

LOS ANGELES SUPERIOR COURT

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Attorneys for Applicant James P. Spears

SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Estate of:
BRITNEY JEAN SPEARS,

Proposed Conservatee.

CASENO. BP / OSS 72

EX PARTE APPLICATION FOR ORDER
FINDING GOOD CAUSE FOR EXCUSING
NOTICE OF HEARING ON PETITION
FOR APPOINTMENT OF TEMPORARY
CONSERVATOR OF THE ESTATE;
MEMORANDUM OF POINTS AND
AUTHORITIES

Date: February 1, 2008
Time: 10:30 a.m
Department: 11

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EX PARTE APP. FOR ORDER EXCUSING NOTICE OF HEARING RE CONSERVATOR; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-11 Filed 02/19/08 Page 3of9 Page ID #:179

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Pursuant to Cal. Prob. Code § 2250 and Cal. R. Court 7.1062, applicant James P. Spears
(“Applicant”), the father of the proposed conservatee Britney Jean Spears (“Britney”), will, and
hereby does, respectfully apply to the Court for an Order finding that there is good cause for not
giving notice of the hearing on the proposed appointment of a temporary conservator and, in the
alternative, for waiving the requirement that notice be given five days before the hearing. Good
cause exists for waiving the notice requirement because: (1) the estate may suffer immediate and
substantial harm if Applicant is required to give five days’ notice before the hearing, see Cal. R.
Court 7.1062(d)(1); (2) giving notice of the hearing would give notice to Osama (“Sam”) Lutfi of
the hearing, and there is a substantial risk that he might cause harm to Britney or her estate in
advance of the hearing, see Cal. R. Court 7.1062(d)(2); and (3) there is an immediate and
substantial risk of loss or further loss to Britney’s estate during the notice period, see Cal. R.
Court 7.1062(d)(4).

This application is based on this Application, the Memorandum of Points and Authorities
filed concurrently herewith, the Declarations of Lynne Spears, James P. Spears, and Geraldine A.
Wyle filed concurrently herewith, the [Proposed] Order lodged concurrently herewith, and such
argument as may be presented in connection with the Application.

As set forth in the Declaration of Geraldine A. Wyle filed concurrently herewith,
Applicant has not given notice of this Application. This ex parte application asks the Court to
find that there is good cause for not giving notice of the hearing on the proposed appointment of
a temporary conservator. Giving notice of the ex parte application would give Britney notice of
the hearing on the proposed appointment of a temporary conservatory, contrary to the relief

sought by this application.
DATED: February 1, 2008 Respectfully submitted,

LUCE, FORWARD, HAMILTON & SCRIPPS LLP

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By: . “4 A
éys fof Applicant James P. Spears

EX PARTE APP. FOR ORDER EXCUSING NOTICE OF HEARING RE CONSERVATOR; MEMO. OF Ps & As
Case 2:08-cv-01021-PSG-RC Document 9-11 Filed 02/19/08 Page 4of9 Page ID #:180

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MEMORANDUM OF POINTS AND AUTHORITIES

INTRODUCTION

On the morning of January 31, 2008, proposed conservatee Britney Jean Spears
(“Britney”) was taken to UCLA Medical Center and placed on a 72-hour psychiatric hold
pursuant to Cal. Welf. & Inst. Code § 5150. Britney’s father, applicant James P. Spears
(“Applicant”), is concurrently herewith filing a petition for the appointment of a conservator over
Britney’s estate.

Cal. Prob. Code § 2250(c) requires that notice of a conservatorship hearing be given at
least five days before the hearing on the motion for conservatorship “[uJnless the court for good
cause otherwise orders.” /d. By this ex parte application, Applicant respectfully asks the Court
to find that there is good cause for waiving Section 2250(c)’s notice requirement so that the
Court may today hear Applicant’s petition for appointment of a conservator.

Cal. R. Court 7.1062, effective as of January 1, 2008, sets forth the framework for finding
good cause for an exception to the notice requirement of Section 2250(c). Good cause exists for
waiving the notice requirement because: (1) the estate may suffer immediate and substantial
harm if Applicant is required to give five days’ notice before the hearing, see Cal. R. Court
7.1062(d)(1); (2) giving notice of the hearing would give notice to Osama (“Sam”) Lutfi of the
hearing, and there is a substantial risk that he might cause harm to Britney or her estate in
advance of the hearing, see Cal. R. Court 7.1062(d)(2); and (3) there is an immediate and
substantial risk of loss or further loss to Britney’s estate during the notice period, see Cal. R.
Court 7.1062(d)(4).

FACTUAL BACKGROUND

The underlying facts are set forth in the declarations of James P. Spears and Lynne
Spears filed concurrently herewith. Applicant will not burden the Court by repeating all of those
facts here. For purposes of the issues raised by this ex parte application, the most important facts

are the following.
As shown in Applicant’s petition for appointment of a conservator and the papers filed in

connection therewith, Britney needs immediate medical treatment.

3

EX PARTE APP. FOR ORDER EXCUSING NOTICE OF HEARING RE CONSERVATOR; MEMO. OF Ps & As
Case 2:08-cv-01021-PSG-RC Document 9-11 Filed 02/19/08 Page5of9 Page ID #:181

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On the morning of January 31, 2008, Britney was admitted to UCLA Medical Center on a
72-hour 5150 hold that will expire on Sunday, February 3, 2008 (less than five days from today).

As discussed at length in the declaration of Lynne Spears, Britney’s mother, Mr. Lutfi
has become the person closest to Britney and has been exerting total control over her life, home,
and finances. See Declaration of Lynne Spears, J 2-20. Mr. Lutfi has put Britney in significant
danger repeatedly, has disabled her cars, and has disconnected her home telephone line and
disposed of the chargers for her cell phones. See id., J§3, 7, 11, 14. He has been putting
crushed pills into Britney’s food. See id., { 8. He has admitted paparazzi into Britney’s home.
See id., J§ 3, 5.

On the evening of January 29, 2008, Mr. Lutfi told Lynne Spears that “You’d better learn
that I control everything.” /d., 49. Mr. Lutfi told her that he controlled Britney’s business
manager Howard Grossman, her attorneys, and the security guards at the gate. See id. He told
Lynne Spears that if he weren’t in the house to give Britney her medication she would kill
herself, and that, if Lynne Spears tried to get rid of him, Britney will “be dead and I’I piss on her
grave.” /d., 4 10.

On January 31, 2008, after Britney was admitted to UCLA Medical Center, despite
instructions given by Applicant and Lynne Spears, Mr. Lutfi was allowed to visit Britney at the
hospital. See Declaration of James P. Spears, 3. Based upon Applicant’s observation of
Britney’s emotional and psychological condition and her dealings with Mr. Lutfi, Applicant
believes that Britney is incapable of keeping information from Mr. Lutfi. See id., 44. In
particular, Applicant believes that, if Britney knew that he was planning to seek a

conservatorship for her, she would tell Mr. Lutfi about the planned conservatorship. See id.

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EX PARTE APP. FOR ORDER EXCUSING NOTICE OF HEARING RE CONSERVATOR; MEMO. OF Ps & As
Case 2:08-cv-01021-PSG-RC Document 9-11 Filed 02/19/08 Page 6of9 Page ID #:182

LEGAL ARGUMENT

I. THERE IS GOOD CAUSE FOR EXCUSING NOTICE OF THE PROPOSED
APPOINTMENT OF A TEMPORARY CONSERVATOR.

A. The Standard for Excusing Notice.

Under Cal. Prob. Code § 2250(c)(2), as amended by the Omnibus Conservatorship and
Guardianship Reform Act of 2006, effective on July 1, 2007, “[ujnless the court for good cause
otherwise orders, at least five days before the hearing on the petition, notice of the hearing . . .
shall be . . . personally delivered to the proposed conservatee, and notice of the hearing shall be
served on the persons required to be named in the petition for appointment of conservator.” /d.
(emphasis added).

Here, the following persons are required to be named in the petition for appointment of
the conservator pursuant to Cal. Prob. Code § 1460(b): (1) Britney; (2) Britney’s father James P.
Spears, the applicant herein; (3) Britney’s mother Lynne Spears, who is aware of and consents to
the petition; (4) Britney’s brother Bryan Spears, who is aware of the petition; (5) Britney’s sister
Jamie-Lynn Spears, who is a minor; (6) Britney’s two-year-old son Sean Preston Federline; (7)
Britney’s one-year-old son Jayden James Federline; and (8) Britney’s paternal grandfather June
Austin Spears.

Cal. Prob. Code § 2250(j) provides that “{o]n or before January 1, 2008, the Judicial
Council shall adopt a rule of court that establishes uniform standards for good cause exceptions
to the notice required by subdivision (c), limiting those exceptions to only cases when waiver of
the notice is essential to protect the proposed conservatee or ward, or the estate of the proposed
conservatee or ward, from substantial harm.” Jd. Fulfilling this mandate, the Judicial Council
adopted Cal. R. Court 7.1062, effective on January 1, 2008.

“The purpose of [Rule 7.1062] is to establish uniform standards for the good cause
exception to the notice of the hearing required on a petition for appointment of a temporary
conservator under Probate Code section 2250(c).” Cal. R. Court 7. 1062(a). Rule 7.1062(c)
recognizes the Court’s power to make an exception to Section 2250’s notice requirement by,
inter alia, “[w]aiving notice to one, more than one, or all persons entitled to notice.” Cal. R.

Court 7.1062(c)(1).
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EX PARTE APP. FOR ORDER EXCUSING NOTICE OF HEARING RE CONSERVATOR; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-11 Filed 02/19/08 Page 7of9 Page ID #:183

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Rule 7.1062(b) states the general rule that “[g]ood cause for an exception to the notice
required by section 2250(c) must be based on a showing that the exception is necessary to
protect the proposed conservatee or his or her estate from immediate and substantial harm.”
Cal. R. Court 7.1062(b) (emphasis added). Rule 7.1062(d) sets forth a non-exclusive list of facts
that may establish good cause:

Good cause for an exception to the notice requirement of section 2250(c)
may include a showing of:

(1) Harm caused by the passage of time. The showing must
demonstrate the immediate and substantial harm to the
conservatee or the conservatee’s estate that could occur during
the notice period.

(2) Harm that one or more persons entitled to notice might do to the
proposed conservatee or the proposed conservatee’s estate if
notice is given. Such a showing would not support an exception
to the requirement to give notice to any other person entitled to
notice unless it also demonstrates that notice cannot reasonably
be given to the other person without also giving notice to the
persons who might cause harm.

(3) Medical emergency. The emergency must be immediate and
substantial and treatment (1) must be reasonably unavailable unless
a temporary conservator is appointed and (2) cannot be deferred
for the notice period because of the proposed conservatee’s pain or
extreme discomfort or a significant risk of harm.

(4) Financial emergency. The emergency must be immediate and
substantial and other means shown likely to be ineffective to
prevent loss or further loss to the proposed conservatee’s estate
during the notice period.

Id. (emphasis added).

Rule 7.1062(¢) sets forth the information that must be included in a request for a good
cause exception to the notice requirement:

A request for a good cause exception to the notice requirement of section
2250(c) must be in writing, separate from the petition for appointment of a
temporary conservator, and must include:

(1) An application containing the case caption and stating the relief
requested;

(2) An affirmative factual showing in support of the application in a
declaration under penalty of perjury containing competent
testimony based on personal knowledge;

6
EX PARTE APP. FOR ORDER EXCUSING NOTICE OF HEARING RE CONSERVATOR; MEMO. OF Ps & As

Case 2:08-cv-01021-PSG-RC Document 9-11 Filed 02/19/08 Page 8of9 Page ID #:184

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(3) A declaration under penalty of perjury based on personal
knowledge containing the information required for an ex parte
application under rule 3.1204(b);

(4) A memorandum; and

(5) A proposed order.

Id!

B. The Court Should Find Good Cause for Excusing Applicant from Giving
Notice of the Hearing of the Proposed Appointment of a Temporary
Conservator.

Good cause exists for allowing the hearing on the conservatorship petition to proceed
without giving Britney five days’ notice prior to the hearing.

Immediate and substantial harm to Britney or to her estate could occur because of the
passage of time, and giving notice to Britney of the hearing mi ght result in harm being caused to
Britney or her estate, and could result in loss or further loss to Britney’s estate. See Cal. R. Court
7.1062(d)(1), (2), (4). Mr. Lutfi is in control of Britney’s house and other assets. If Britney is
given notice of the hearing, Mr. Lutfi would be likely to learn of the hearing, not only because of
his attempts to remain in personal contact with Britney but also because information concerning
the hearing might be reported by the media. There is a significant risk that Mr. Lutfi may cause
harm to Britney and her estate when faced with the likelihood that he will lose control over them.

Even if Mr. Lutfi does not learn of the conservatorship, if the appointment of a conservator for

' Cal. R. Court 3. 1204(b) provides that:

An ex parte application must be accompanied by a declaration regarding
notice stating:

(1) The notice given, including the date, time, manner, and name of
the party informed, the relief sought, any response, and whether
opposition is expected and that, within the applicable time under
rule 3.1203, the applicant informed the Opposing party where and
when the application would be made;

(2) That the applicant in good faith attempted to inform the opposing
party but was unable to do so, specifying the efforts made to
inform the opposing party; or

(3) That, for reasons specified, the applicant should not be required to
inform the opposing party.

Id.
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EX PARTE APP. FOR ORDER EXCUSING NOTICE OF HEARING RE CONSERVATOR; MEMO. OF Ps & As
Case 2:08-cv-01021-PSG-RC Document 9-11 Filed 02/19/08 Page9of9 Page ID #:185

l the estate were delayed by five days he would still have the ability to dissipate the estate’s assets

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or to take other steps that would make it difficult or impossible for the conservator to recover

3 those assets.

4 CONCLUSION

5 For the reasons set forth herein, applicant Jamie Spears respectfully asks the Court to
6 enter an Order finding that there is good cause for not giving notice to Britney Spears of the
7 hearing on the proposed appointment of a temporary conservator.

8 DATED: February 1, 2008 Respectfully submitted,

LUCE, FORWARD, HAMILTON & SCRIPPS LLP

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EX PARTE APP. FOR ORDER EXCUSING NOTICE OF HEARING RE CONSERVATOR; MEMO. OF Ps & As

